Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 1 of 15 PageID 1



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                                          CASE NO:
MELODEE MICHALARES-OWENS,
PLAINTIFF

Vs.
PETALAS ENTERPRISES, INC., A Florida
Profit Corporation, dba Seminole Subs & Gyros, Defendant,
and
11775 SEMINOLE BLVD LAND TRUST
DATED APRIL 17, 2007, c/o John H. Petalas, Trustee,
 jointly and severally
and
Unknown Defendant #1 and
Unknown Defendant #2
________________________________/

                       COMPLAINT FOR INJUNCTIVE RELIEF

                     JURISDICTION/VENUE/PARTIES/DEMANDS

   1.     This is an action for injunctive relief pursuant to Title III of the Americans with

          Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 U.S.C. §1331, and 28

          C.F.R. §36.201 (“ADAAG”) to prevent discrimination which includes equal access to

          Defendants’ place of public accommodation.

   2.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has original

          jurisdiction over actions that arise from the Defendant’s violations of Title III of the

          Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. See also 28 U.S.C. §§

          2201 and 2202.

   3.     Venue is proper in the Middle District of Florida pursuant to 28 U.S.C. § 1391

          because it is where the Defendant resides; where the cause of action accrued; and it is

          the situs of the property that is the subject of this action. Assignment to the Tampa

          Division is appropriate pursuant to Rule 1.02 of the Local Rules of the United States
                                               1
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 2 of 15 PageID 2



       District Court, Middle District of Florida, because it is the county having the greatest

       nexus with the action, with due regard to the where the cause of action accrued and

       the situs of the subject property.

  4.   Plaintiff, MELODEE MICHALARES-OWENS, resides in Pinellas County, Florida,

       is sui juris and qualifies as an individual with disabilities as defined by the ADA.

       Plaintiff, as a result of arthritis in critical joints, is unable to engage in the major life

       activity of walking more than a few steps or standing without assistive devices.

       Instead, Plaintiff is bound to ambulate with a cane or other support and has limited

       use of her hands. She is unable to tightly grasp or pinch, or twist her wrist to operate

       turning door hardware or spigots. When ambulating beyond the comfort of her own

       home, Plaintiff must primarily rely on a Rollator or cane. Plaintiff requires accessible

       handicap parking spaces located closest to the entrances of a facility. The handicap

       and access aisles must be of sufficient width so that she can embark and disembark to

       and from her vehicle. Routes connecting the handicap spaces and all features, goods

       and services of a facility must be level, properly sloped, sufficiently wide and without

       cracks, holes or other hazards that can pose a danger of tipping, catching wheels,

       cane, or falling. These areas must be free of obstructions or unsecured carpeting that

       make passage either more difficult or impossible. Amenities must be sufficiently

       lowered so that Plaintiff can reach them or use them as support while writing or using

       card devises. She has difficulty operating turning door knobs, sink faucets, locks or

       other operating mechanisms that require tight grasping, twisting of the wrist or

       pinching. Sinks that have unwrapped pipes pose a danger of scraping or burning her

       legs. She requires grab bars both behind and beside a commode so that she can safely



                                              2
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 3 of 15 PageID 3



       transfer to the seat and she has difficulty reaching the flush control if it is on the

       wrong side. She cannot pass doorways that lack the proper clearance.

  5.   Plaintiff is a consumer who frequents businesses in the Tampa Bay Area.

  6.   When she travels throughout the Tampa Bay area, Plaintiff has and will continue to

       avail herself of public accommodations. Plaintiff’s attorneys, friends and medical

       providers are located in the Tampa Bay area which she frequents often and on a

       constant basis.

  7.   Plaintiff is an advocate of the rights of similarly situated disabled persons and is

       otherwise a “tester” for the purpose of asserting her civil rights and monitoring,

       ensuring, and determining whether places of public accommodation are in

       compliance with the ADA.

  8.   According to the Property Appraiser Records and Florida Department of Business

       and Professional Regulation Records, Defendant 11775 SEMINOLE BLVD LAND

       TRUST DATES APRIL 17, 2007, c/o John H. Petalas Trustee, (“Defendant”) owns

       or operates the real property located at 11775 Seminole Blvd, Largo FL 33778, which

       is a place of public accommodation as defined by the ADA and the regulations

       implementing the ADA, 28 C.F.R. 36.201(a) and 36.104.

  9.   Defendant PETALAS ENTERPRISES, INC., a Florida Profit Corporation, doing

       business as SEMINOLE SUBS & GYROS,(“Defendant”) conducts and transacts

       business under the laws of the state of Florida, and otherwise operates within the

       jurisdiction of this Court. Defendant is the owner, lessee, lessor, operator, or

       otherwise has an interest in, the commercial property and improvements, commonly

       known as SEMINOLE SUBS & GYROS, located at 11775 Seminole Boulevard,



                                           3
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 4 of 15 PageID 4



        Largo FL 33778 (hereinafter “Restaurant”), which is a place of public

        accommodation as defined by the ADA and the regulations implementing the ADA,

        28 C.F.R. 36.201(a) and 36.104.

  10.   Defendants PETALAS ENTERPRISES, INC., and                    11775 SEMINOLE BLVD

        LAND TRUST DATES APRIL 17, 2007, c/o John H. Petalas Trustee are jointly and

        severally liable.

  11.   Plaintiff has retained the undersigned counsel and law firm to commence and

        prosecute this action to stop marginalization of disabled or qualified disabled persons

        committed by Defendant under the ADA. Pursuant to 42 U.S.C. § 12205 and 28

        C.F.R. 36.505, Plaintiff is entitled to immediate temporary and permanent injunctive

        relief to prevent the present, continued, and future discrimination and discriminatory

        practices so evidenced by Defendants and the Restaurant as further described

        hereinafter, reasonable attorney’s fees, costs and litigation expenses.

                                  BACKGROUND

  12.   Defendants’ Restaurant is a place of public accommodation as defined by the ADA

        because it is, or is part of, a place of exhibition, entertainment, sales, rental, or eating

        establishment. The Restaurant allows the general public access to partake of food and

        beverages. As such, the subject Restaurant is a sales establishment, which is a place

        of public accommodation pursuant to 42 U.S.C. §12181 and must comply with the

        ADA. This means it must not discriminate against individuals with disabilities and

        may not deny full and equal enjoyment of the services afforded to the general public

        and the Defendants have subjected themselves to the ADA.




                                               4
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 5 of 15 PageID 5



  13.   In   addition    to   Title   III’s   prohibition   of   denial-of-participation,   no

        public accommodations may “afford an individual or class of individuals, on the basis

        of disability … directly, or through contractual licensing, or other arrangements with

        the opportunity to participate in or benefit from a good, service, facility, privilege,

        advantage, or accommodation that is not equal to that afforded to other

        individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

  14.   The broad mandate of the ADA is to provide an equal opportunity for individuals

        with disabilities to participate in and benefit from all aspects of American civic and

        economic life.    That mandate extends to restaurants, such as the Defendants’

        establishment.

  15.   The ADA is the industry standard adopted by major companies and governmental

        agencies to ensure their establishments are accessible to disabled persons; the

        guidelines are readily achievable. These guidelines are readily available via the

        internet so that a business designing an establishment can easily access the standards

        and provide several basic components to incorporate into the Restaurant so that

        persons with disability may have accessibility.

  16.   Pursuant to Title III, “[n]o individual shall be discriminated against on the basis

        of disability in the full and equal enjoyment of the goods, services, facilities,

        privileges, advantages, or accommodations of any place of public accommodation by

        any person who owns, leases (or leases to), or operated a place of public

        accommodation.” 42 U.S.C. § 12182(a).

  17.   Public accommodations are prohibited from subjecting “an individual or class

        of individuals on the basis of a disability … directly, or through contractual,



                                              5
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 6 of 15 PageID 6



        licensing, or other arrangements, to a denial of the opportunity of the individual or

        class to participate in or benefit from the goods, services, facilities, privileges,

        advantages, or accommodations of an entity.” 42 U.S.C. § 12182(b)(1)(A)(i).

  18.   Defendants are obligated to comply with 42. U.S.C. § 12182(b)(2)(A)(ii), which

        defines discrimination as “a failure to make reasonable modifications in policies,

        practices, or procedures, when such modifications are necessary to afford such goods,

        services, facilities, privileges, advantages, or accommodations to individuals with

        disabilities[.]”


  19.   Separate is not equal and discrimination includes “a failure to take such steps as may

        be necessary to ensure that no individual with a disability is excluded, denied

        services, segregated or otherwise treated differently than other individuals because of

        the      absence       of      auxiliary      aids    and     services[.]”      42   U.S.C.    §

        12182(b)(2)(A)(iii). Defendants’ disparate treatment of persons who are not disabled

        or not qualified disabled, from persons who are disabled or qualified disabled, violate

        Federal law, and such discrimination must cease.

                           COUNT I – INJUNCTIVE RELIEF

  20.   Plaintiff realleges paragraphs 1 through 19 as if fully set forth herein.

  21.   Defendants own and operate, either itself or through third parties, a Restaurant open

        to the general public. The Restaurant allows members of the public to partake of the

        goods,     services,        features,   facilities,   benefits,   advantages,    amenities    and

        accommodations of the Restaurant.

  22.   Defendants failed to comply with ADA criteria in violation of general prohibition

        against discrimination for individuals with disabilities and the specific requirement(s)

                                                     6
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 7 of 15 PageID 7



       concerning public accommodations including, but not limited to the following

       (Plaintiff anticipates additional violations, including but not limited to violations

       present in the men’s restroom, will be disclosed during the discovery process):

  a)   insufficient number of handicapped parking spaces which prevents Plaintiff from

       utilizing the space designated for a person with her disabilities;

  b)    parking lot is rough and uneven, posing tripping hazard when utilizing devices

       mobility devices;

  c)   ramps from parking lot to building are too steep, making it difficult to traverse with

       mobility devices such as a Rollator or wheelchair;

  d)   parking signage lacks “Van Accessible” verbiage;

  e)   no signage directing patrons to ADA accessible bathrooms;

  f)   handicap stall is missing grab bar which prevents Plaintiff from transferring from

       mobility device to toilet seat;

  g)   grab rails are positioned incorrectly in stall which prevent Plaintiff from transferring

       from her mobility device to toilet seat;

  h)   round door knob requires twisting and lock requires pinching which prevents Plaintiff

       from properly opening, closing, locking, and unlocking door as a result of her

       arthritis;

  i)   no compliant route from the public access to the Restaurant which endangers Plaintiff

       while moving from public sidewalk to the premises;

  j)   no compliant seating which prevents Plaintiff from safely using her Rollator or other

       mobility device;




                                             7
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 8 of 15 PageID 8



  k)    high chairs are stored in hallway which impedes Plaintiff’s ability to navigate the

        hallway to the restrooms while using a Rollator or other mobility device;

  l)    Sales counter and self service drinks counters are too high for use with mobility

        devices;

  m)    doorway to restrooms is 30 inches, not 36 inches which prevents passage when using

        a Rollator or wheelchair;

  n)    hook for coat/ purse should be no more than 48 inches form floor, it is either too high

        or missing;

  o)    Paper towel dispenser is too high and blocked by toilet which impeded Plaintiff’s

        ability to use facilities wen using her mobility device;

  p)    tables positioned too close to each other to allow Rollator or other mobility device to

        pass between tables without bumping patrons and requesting they move their seats.

  23.   On or about January 17, 2020, Plaintiff patronized the Defendants’ Restaurant and

        encountered the above listed barriers, which impeded her ability to enjoy and partake

        of the amenities in the same manner as an able-bodied person.               See attached

        Composite Exhibit “A”.



  24.   Plaintiff encountered barriers with Defendants’ Restaurant in violation of the ADA as

        set forth above, which inhibited Plaintiff from patronizing Defendants’ establishment

        and has otherwise deterred Plaintiff from being able to use and enjoy Defendants’

        public accommodations in the same manner as non-disabled individuals. The

        inaccessibility of Defendants’ Restaurant has caused Plaintiff undue burden and

        hardship. Alterations to Defendants’ Restaurant are readily achievable. At the time of



                                              8
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 9 of 15 PageID 9



        the commencement of this action, the Defendants’ Restaurant lacked complete

        compliance with the ADA.

  25.   Within ninety (90) days from the service of the Complaint, Plaintiff will revisit the

        Restaurant to ensure compliance with the ADA and 28 C.F.R. § 36.302(e) and will

        use the Restaurant and otherwise avail herself of the goods, services, features,

        facilities, benefits, advantages, amenities, and accommodations at the Restaurant,

        provided the barriers have been removed.

  26.   Plaintiff is continuously aware that the subject Restaurant remains non-compliant and

        that it would be a futile gesture to revisit the Restaurant as long as those violations

        exist unless she is willing to suffer additional discrimination.

  27.   Once Defendant complies with the ADA, Plaintiff will be able to enjoy the

        accommodations that suits her needs in the same manner as able bodied individuals,

        which is the purpose of the ADA.

  28.   The violations present at the Defendants’ Restaurant infringe upon Plaintiff’s right to

        travel free from discrimination.

  29.   Plaintiff continues to desire to patronize the Defendants’ Restaurant, but is unable to

        do so until the barriers are removed, thus will continue to suffer irreparable injury

        from the Defendants’ intentional acts, policies, and practices set forth herein unless

        enjoined by this Honorable Court.

  30.   Plaintiff has suffered and continues to suffer frustration and humiliation as the result

        of the discriminatory conditions at the Defendants’ Restaurant. By continuing to

        operate a Restaurant with discriminatory conditions, Defendants contribute to

        Plaintiff’s sense of isolation and segregation, and deprives the Plaintiff of full and



                                              9
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 10 of 15 PageID 10



         equal enjoyment of the goods, services, facilities, privileges and accommodations

         available to the general public. By encountering the discriminatory conditions at

         Defendants’ Restaurant, and knowing it would be futile to return to the Restaurant

         unless she is willing to endure additional discrimination, Plaintiff is deprived of the

         same advantages, privileges, goods, services, amenities, and benefits readily available

         to the general public.

   31.   By maintaining a Restaurant with ADA violations, Defendants deprive Plaintiff of the

         equality of opportunity offered to the general public.

   32.   The Defendants’ Restaurant did not offer adequate amenities to permit a disabled

         person such as Plaintiff with mobility impairments to use and navigate the Restaurant

         in an effective manner as set out above. Upon initial review of Defendants’

         Restaurant, all remedies are readily achievable. However, additional ADA violation

         may be discovered through discovery.

   33.   When Restaurants impose barriers like Defendants’, mobility impaired users, such as

         Plaintiff, are excluded from the content and services available.

   34.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

         of Defendants’ discrimination until the Defendant is compelled to modify its

         Restaurant to comply with the requirements of the ADA and to continually monitor

         and ensure that the subject Restaurant remain in compliance.

   35.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from

         the Defendants’ non-compliance with the ADA with respect to the Restaurant and has

         reasonable grounds to believe she will continue to be subjected to discrimination in

         violation of the ADA by the Defendants.



                                              10
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 11 of 15 PageID 11



   36.   Because of Defendants’ denial of full and equal access to, enjoyment of,

         and communication with, its goods, services, facilities, privileges, advantages, and

         accommodations, Plaintiff and others similarly situated has suffered, and continues to

         suffer, an injury in fact, which is concrete and particularized, present, actual and a

         direct result of Defendants’ conduct or omission.

   37.   The Defendants’ have discriminated against the Plaintiff by denying her access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges, amenities,

         advantages and accommodations of the Restaurant.

   38.   The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the ADA

         as requested herein.

   39.   Defendants have discriminated against the Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, amenities, advantages

         and accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181, et seq., and 28 C.F.R. § 36.302(e). Furthermore, the

         Defendants continue to discriminate against the Plaintiff, and all those similarly

         situated, by failing to make reasonable modifications in policies, practices, or

         procedures, when such modifications are necessary to afford all offered goods,

         services, privileges, facilities, amenities, advantages and accommodations to

         individuals with disabilities; and by failing to take such efforts that may be necessary

         to ensure that no individual with a disability is excluded, denied services, segregated

         or otherwise treated differently than other individuals because of the absence of

         auxiliary aids and services.



                                              11
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 12 of 15 PageID 12



   40.   Plaintiff is without adequate remedy at law and is suffering irreparable harm.

         Plaintiff and others will continue to suffer irreparable injury from Defendants’

         intentional acts, policies, and practices set forth herein unless enjoined by the court.

   41.   As a result of the inaccessibility of the Defendants’ Restaurant and by the barriers to

         access its Restaurant, the Defendants have denied individuals with disabilities who

         are mobility impaired full and equal enjoyment of the information and services that

         the Defendants have made available to the general public in its Restaurant in

         derogation of 42 U.S.C. sec. 12101 et seq., and as prohibited by 42 U.S.C. sec. 12182

         et. seq.

   42.   The Defendant has violated the ADA (and continues to do so) by denying access to

         its Restaurant to individuals with disabilities who are mobility impaired. These

         violations within the Restaurant are ongoing, and removal of the barriers are readily

         achievable.

   43.   Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

         alleged herein and this suit for and injunctive relief is the only means to secure

         adequate redress from the Defendants’ unlawful and discriminatory practices.

   44.   Defendants use standards, criteria or methods of administration that have a

         chilling effect, discriminatory effect, or perpetration of discrimination on the Plaintiff

         and a protected class of citizens.

   45.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

         Plaintiff’s request for injunctive relief, including an order to require the Defendants to

         alter the subject Restaurant to make it readily accessible and useable to the Plaintiff

         and all those other persons with disabilities as defined by the ADA and 28 C.F.R. §



                                               12
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 13 of 15 PageID 13



            36.302(e); or by closing the Restaurant until such time as the Defendants cure its

            violations of the ADA.

   46.      As a result of the Defendants’ inadequate development and administration of the

            Restaurant, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. sec. 12133 to

            remedy the discrimination.

   47.      Pre-suit notice to the Defendants of the Defendants’ violations of ADA is not

            required pursuant to the ADA.

   48.      Any and all conditions precedent to the action have been fulfilled, performed, or

            waived; specifically, on or before January 20, 2020, the undersigned performed a

            diligent search of online public records, and according to those records, the

            Defendants have not registered for remediation nor have been sued for violations

            described herein.

   49.      Pursuant to 42 U.S.C. sec. 12188, this Court is vested with the authority to grant

            Plaintiff injunctive relief; including an Order to:

            a. Require Defendant to remove all readily achievable barriers to comply with the

                ADA, and

            b. Require Defendant to cease and desist discriminatory practices and if necessary to

                cease and desist operations of the Restaurant until the requisite modifications are

                made such that its Restaurant becomes equally accessible to persons with

                disabilities.

         WHEREFORE Plaintiff demands judgment against Defendants and requests the

         following injunctive relief:




                                                  13
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 14 of 15 PageID 14



      a) The Court enter an Order granting temporary, preliminary and permanent injunction

         prohibiting   Defendants     from    operating    its   Restaurant    without     adequate

         accommodation for the mobility impaired;

      b) The Court enter an Order requiring Defendants to update its Restaurant to remove

         barriers in order that the individuals with mobility disabilities can access the

         Restaurant and facilities to the full extent required by the Title III if the ADA;

      c) The Court enter an Order requiring Defendants to clearly display the universal

         disabled logo within its Restaurant, wherein the logo would lead to ADA complaint

         amenities which would state Defendants’ accessibility information, facts, policies,

         and accommodations. Such a clear display of the disabled logo is to ensure that

         individuals who are disabled are aware of the availability of the accessible features of

         Restaurant;

      d) The Court enter an Order requiring Defendants to provide ongoing support for ADA

         accessibility by implementing an ADA accessibility policy, and providing for ADA

         accessibility feedback to ensure compliance thereto;

      e) The Court enter an Order directing Defendants to evaluate its policies, practices, and

         procedures toward persons with disabilities, for such reasonable time so as to allow

         the defendants to undertake and complete corrective procedures to the Restaurant;

      f) The Court award reasonable attorney’s fees, all costs, (including but not limited to

         court costs and expert fees), and other expenses of suit, to the Plaintiff; and

      g) That the Court award such other and further relief as it deems necessary, just and

         proper.




                                               14
Case 8:20-cv-00152-VMC-CPT Document 1 Filed 01/21/20 Page 15 of 15 PageID 15



Dated: January 21, 2020
                             Respectfully submitted,
                             McDONALD & MINCE, PLLC

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                                     15
